July 03, 2009

Ms. Diana L. Faust
Cooper &amp; Scully, P.C.
900 Jackson Street, Suite 100
Dallas, TX 75202

Mr. Ben C. Martin
Law Office of Ben C. Martin
2100 McKinney Avenue, Suite 1975
Dallas, TX 75201
Honorable Merrill Hartman
Judge, 192nd District Court
600 Commerce Street, 4th Floor, Suite 443
Dallas, TX 75202-4606

RE:   Case Number:  06-0416
      Court of Appeals Number:  05-06-00611-CV
      Trial Court Number:  02-05307-K

Style:      IN RE  COLUMBIA MEDICAL CENTER OF LAS COLINAS, SUBSIDIARY, L.P.
      D/B/A LAS COLINAS MEDICAL CENTER, ANTONETTE CONNER, AND ANNA MATHEW

Dear Counsel:

      Today the Supreme Court of Texas issued opinions the  above-referenced
cause.     You    may    obtain    a    copy    of    the    opinions    at:
http://www.supreme.courts.state.tx.us/historical/recent.asp.  If  you  would
like  the   opinions   by   email,   please   contact   Claudia   Jenks   at
claudia.jenks@courts.state.tx.us or call (512)463-1312 ext. 41367.


                                       Sincerely,
                                       [pic]
                                       Blake A. Hawthorne, Clerk
                                       by Claudia Jenks, Chief Deputy Clerk


                                       |cc:|Mr. Jim Hamlin     |
|   |Ms. Lisa Matz      |
|   |Ms. Ruth G. Malinas|
|   |                   |
|   |Mr. Roger W. Hughes|
|   |                   |
|   |Mr. Jay Harvey     |
|   |Mr. Brent M.       |
|   |Rosenthal          |
|   |Mr. Peter M. Kelly |

